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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF BOONE

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF BOONE2018 OK 28Case Number: SCBD-6534Decided: 04/10/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 28, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN THE MATTER OF THE REINSTATEMENT OF CHARLENE L. BOONE TO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION




ORDER


Petitioner Charlene L. Boone voluntarily tendered her resignation from the Oklahoma Bar Association (OBA) on February 23, 2007, which the OBA accepted on March 2, 2007. On June 26, 2017, Boone petitioned this Court for reinstatement. As required by Rule 11.3 of the Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app. 1-A, a panel of the Professional Responsibility Tribunal held a hearing on Boone's application. The panel, in a 2-1 decision, advised against reinstatement. All three members of the panel agreed that Boone demonstrated by clear and convincing evidence that she had not engaged in the unauthorized practice of law in Oklahoma and that she possesses the requisite competency in the law required for reinstatement without re-examination. The panel split, however, on whether Boone established by clear and convincing evidence that she possesses the good moral character and fitness necessary for reinstatement to the OBA. The OBA, meanwhile, supports Boone's application for reinstatement.

Upon de novo review of the record, we find:

1. Boone has complied with the procedural requirements necessary for reinstatement;

2. Boone has established by clear and convincing evidence that she has not engaged in the unauthorized practice of law during the period following her resignation;

3. Boone has established by clear and convincing evidence that she possesses the competency and learning in the law required for reinstatement without re-examination; and

4. Boone has established by clear and convincing evidence that she possess the good moral character and fitness necessary for reinstatement to the Oklahoma Bar Association.

The petition of Charlene L. Boone for reinstatement to the Oklahoma Bar Association is therefore GRANTED, and her membership shall be reinstated.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 10TH DAY OF APRIL, 2018.


/S/CHIEF JUSTICE



Combs, C.J., Gurich, V.C.J., and Kauger, Winchester, Edmondson, Colbert, Reif, and Wyrick, JJ., concur.







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